                                   CERTIFICATE OF ASSIGNMENT OF
                                COUNTY’S INTEREST IN PROPERTY LIEN
                                         Jefferson County, Montana

Assignment Number: 3877                                     Parcel Id: 5056
Tax Lien Number: 674, 1263, 2016000154, 2017000188, 2018000196, 2019000170, 2020000163

|, Terri Kunz, the treasurer of Jefferson County, State of Montana, hereby certify that a tax lien for tax
year 9 on 7/9/2010 in the county of Jefferson, for tax lien number(s) 674, 1263, 2016000154,
2017000188, 2018000196, 2019000170, 2020000163 for the purpose of liquidating delinquent
assessments on the following property:

O7N 04W 05 ACRES 113.221, G.LOTS 11 & 22, S2SW4 07N 04W 08 ACRES 229.56, G LOTS 21,23,33,36-
41,43-44, LESS BK 129 PG 892 07N 04W 08 ACRES 68.22, G LOTS 24-26,28-30,32 07N 04W 09 ACRES
15.36, S2S2SW4SW4 07N 04W 09 ACRES 163.86, TRACT IN W2 O7N 04W 16 ACRES 17.15, NELLIE LODE
Ms 10031, LYING N OF RR 07N 04W 16 ACRES 0.38, NELLIE LODE MS 10031 LYING S OF RR O7N 04W 16
ACRES 16.3, BABE LODE MS 9325 LYING N OF RR O7N O4W 16 ACRES 1.4, BABE LODE MS 9325 LYING S
OF RRO7N O4W 16 ACRES 16.2, COLUMBIA LODE MS 9080 LYING N OF RR O7N O4W 16 ACRES 1.4,
COLUMBIA LODE MS 9080 LYING S OF RR 07N 04W 16 ACRES 20.66, MAYBIRD LODE MS 8946 07N 04W
16 ACRES 20, NANW4NW4 07N O4W 16 ACRES 10, SW4NE4NW4 O7N O4W 16 ACRES 10, NE4SE4NW4
O7N 04W 16 ACRES 208, S2NW4NW4, SW4NW4, SE4SE4NW4, W2SE4NW4, N2SW4, SW4SW4 07N 04W
16 ACRES 1.64, RR ROW THRU GOP LODE MS 7144 & ATLAS LODE MS 4784 07N 04W 16 C.0.S. 191656
F556B, ACRES 6.43, LOT 1, IN SE4 O7N 04W 16 ACRES 27.14, ABANDONED RR IN E2 07N 04W 17 ACRES
376, SE4, TRACTS IN NE4 & SW4 LESS MINING CLAIMS 07N 04W 20 ACRES 286, N2NE4, SE4NE4, NW4

Because delinquent taxes, penalties, interest, and costs remained unpaid on the date of the attachment
of the tax lien, the county is the possessor of the tax lien. As of the date of this assignment certificate,
the delinquency, including penalties, interest, and costs amounting to

Year   Taxes Paid   Penalty Interest Total Paid



2020    70186.83    1403.74   3516.56     75107.13

2020    70557.52    1411.15   7050.94     79019.61

2019    83667.41    1673.32   12552.97     97893.70

2019    84026.58    1680.51   16816.83     102523.92

2018    94864.49    1897.29   23738.83     120500.61

2018    95222.47    1904.47   28573.23     125700.17

2017    96933.37    1938.64   33943.25     132815.26

2017   = 97268.24   1945.34   38907.30     138120.88

2016    93326.94    1866.53   42006.70     137200.17




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2016    93649.10     1872.99 46587.40                 142109.49

2015   101813.55         2036.29         56000.94     159850.78

2015   102124.57         2042.51         61288.73     165455.81

2014   151468.56         3029.37         98490.85     252988.78

2014   151779.84         3035.60 105466.74             260282.18

2013   160612.47         3212.25 120486.84             284311.56

2013   160923.27         3218.47 128738.62             292880.36

2012   160933.39         3218.66 136809.91             300961.96

2012   161243.94         3224.87 145108.51             309577.32

2011    174634.24        3492.69 165908.51             344035.44

2011    174937.78        3498.76 174961.73             353398.27

2010    188397.15        3767.94 197862.15             390027.24

2010   188690.26         3773.80 207572.20             400036.26

2009    175169.78        3503.39 201475.22             380148.39



Assignment         fee     and       mailing          fee:

That the amount due has not been liquidated by the person to whom the property was assessed, nor
has the delinquency been otherwise redeemed. Because there has been no liquidation of the
delinquency or other redemption, | hereby assign all rights, title, and interest of the Jefferson County,
State of Montana, acquired in the property by virtue of attachment of a tax lien to:

  GOLDFIELDS FUNDING PARTNERS LLC 1610 WYNKOOP STREET SUITE 400 DENVER COLORADO 80202

Who may proceed to obtain a tax deed to the property or receive payment in case of redemption as
provided by law.

Witness my hand and official seal of office this December 21, 2021
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Terri L. Kunz, County Treasurer                )         a)
Jefferson County, Montana                                7




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